CaSe 2:05-cr-20204-.]DB Document 46 Filed 08/17/05 Page 1 of 2 PagelD 92

iN THE uNiTED sTATEs nisTnlcT couRT reed
l=oR THE wEsTERN olsTRic“r oF TENNEssEE
wEsTERN DlvlsloN F;=;~E itu-13 |7 PH 3= 51

 

 

UN|TED STATES OF AMER|CA,
P|aintiff,

cn. NO. 05-20204-02-3 ‘/
05-20205'02-3

VS.

CHARLES LOVE,

-._r--._/-_/~._/\~_,z\`_z~`_,~.._,~.._/~.._/

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came to be heard on August 16, 2005, the United States Attorney for this district,
Tim DiScenza, appearing forthe Government and the defendant, Charles Love, appearing in person, and
with counsel, Bryan Hoss, who represented the defendant

W~ith leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts 1 & 2 of the indictments in case numbers 05-20204 and 05-20205.

P|ea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, FEBRUARY 2, 2006, at 1:30 P.Nl.,
in Courtroom No. 1, on the 11th floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

ENTERED this the/l<h\day of August, 2005.

 

J. bANlEL BREEN
uNi ED TATEs pisTRicT JuDGE

Tnis docuit1eitt entered on the dcci<et sheet in cut;ipban '-
in ~-. ./ 8 w
with Rule 55 and/or 32{@) Fhorl= on 8 l _

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Jonathan P. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

William H. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Bryan H. Hcss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

Honcrable J. Breen
US DISTRICT COURT

